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12   Lead Counsel for Lead Plaintiff Stadium Capital
     LLC, Plaintiff David Sherman and the Proposed
13   Class

14   (additional counsel listed on signature page)
15                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
16                                       SAN JOSE DIVISION
17
   ASIF MEHEDI, individually and on Behalf             Case No. 5:21-cv-06374-BLF
18 of All Others Similarly Situated,
                                                       CLASS ACTION
19                 Plaintiffs,
                                                       STIPULATION AND [PROPOSED]
20         vs.                                         ORDER GRANTING LEAD PLAINTIFF’S
                                                       MOTION FOR LEAVE TO FILE
21 VIEW, INC. f/k/a CF FINANCE                         REQUEST FOR JUDICIAL NOTICE
   ACQUISITION CORP. II, RAO MULPURI,
22 VIDUL PRAKASH, HOWARD W.
   LUTNICK, PAUL PION, ALICE CHAN,
23 ANSHU JAIN, ROBERT J. HOCHBERG,
   CHARLOTTE S. BLECHMAN, CF
24 FINANCE HOLDINGS II, LLC, CANTOR
   FITZGERALD & CO., CANTOR
25 FITZGERALD, L.P., AND CF GROUP
   MANAGEMENT, INC.,
26
                Defendants.
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                                                                   Case No. 5:21-cv-06374-BLF
     STIPULATION AND [PROPOSED] ORDER GRANTING LEAD PLAINTIFF’S MOTION FOR LEAVE TO FILE
                                 REQUEST FOR JUDICIAL NOTICE
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 1           WHEREAS, Lead Plaintiff Stadium Capital LLC (“Lead Plaintiff”) has advised

 2 Defendants that it intends to file an administrative motion Pursuant to Local Rule 7-11 for leave to

 3 file a request for judicial notice of the complaint filed in Delaware Chancery Court in Siseles v.

 4 Lutnick, et al., Case No. 2023-1152-JTL, which was unsealed on November 20, 2023; and

 5           WHEREAS, Plaintiff has advised Defendants that it intends to file the administrative

 6 motion on December 15, 2023 and will concurrently submit the proposed request for judicial

 7 notice.

 8           NOW, THEREFORE, IT IS HEREBY STIPULATED, by and among Lead Plaintiff

 9 and Defendants, subject to Court approval, as follows:

10           1.     Defendants do not object to the filing of the administrative motion.

11           2.     Defendants reserve the right to object and oppose Lead Plaintiff’s request for the

12 Court to take judicial notice of the Delaware Siseles complaint.

13           IT IS SO STIPULATED.

14 DATED: December 15, 2023                                /s/ Laurence D. King
15                                                   Laurence D. King
                                                     KAPLAN FOX & KILSHEIMER LLP
16                                                   1999 Harrison Street, Suite 1560
                                                     Oakland, CA 94612
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18
                                               Attorneys for Lead Plaintiff Stadium Capital LLC,
19                                             Plaintiff David Sherman, and the Proposed Class

20 DATED: December 15, 2023                                /s/ John W. Berry
21                                                   John W. Berry
                                                     MUNGER, TOLLES & OLSON LLP
22                                                   350 South Grand Avenue, Fiftieth Floor
                                                     Los Angeles, California 90071
23                                                   Telephone: 213-683-9100
24                                             Attorneys for Defendants View, Inc. f/k/a CF Finance
25                                             Acquisition Corp. II and Rao Mulpuri

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     STIPULATION AND [PROPOSED] ORDER GRANTING LEAD PLAINTIFF’S MOTION FOR LEAVE TO FILE
                                 REQUEST FOR JUDICIAL NOTICE
      Case 5:21-cv-06374-BLF Document 191-4 Filed 12/15/23 Page 3 of 5




 1

 2 DATED: December 15, 2023                            /s/ Jeffrey L. Steinfeld
                                               Jeffrey L. Steinfeld
 3                                             WINSTON & STRAWN LLP
                                               333 S. Grand Avenue
 4
                                               Los Angeles, CA 90071
 5                                             Telephone: 213-615-1700

 6                                        Attorneys for Defendants Howard W. Lutnick, Paul
                                          Pion, Alice Chan, Anshu Jain, Robert J. Hochberg,
 7                                        Charlotte S. Blechman, CF Finance Holdings II, LLC,
 8                                        Cantor Fitzgerald & Co., Cantor Fitzgerald, L.P., and
                                          CF Group Management, Inc.
 9
     DATED: December 15, 2023                         /s/ Anna Erickson White
10
                                               Anna Erickson White
11                                             MORRISON & FOERSTER LLP
                                               425 Market Street
12                                             San Francisco, CA 94105
                                               Telephone: 415-268-7000
13

14                                        Attorneys for Defendant Vidul Prakash

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       Case 5:21-cv-06374-BLF Document 191-4 Filed 12/15/23 Page 4 of 5




 1                ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)

 2          I, Laurence D. King, attest that concurrence in the filing of this document has been
 3 obtained from the other signatories. I declare under penalty of perjury that the foregoing is true

 4 and correct.

 5
     Executed this 15th day of December, 2023, at Oakland, California.
 6

 7                                                          /s/ Laurence D. King
                                                            Laurence D. King
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                                             -3-                    Case No. 5:21-cv-06374-BLF
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 1                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
 2                                    SAN JOSE DIVISION

 3
   ASIF MEHEDI, Individually and on Behalf of All             Case No.: 5:21-cv-06374-BLF
 4 Others Similarly Situated,
                                                              CLASS ACTION
 5                             Plaintiff,
                                                              [PROPOSED] ORDER GRANTING
 6          v.                                                LEAD PLAINTIFF’S MOTION FOR
                                                              LEAVE TO FILE REQUEST FOR
 7 VIEW, INC. f/k/a CF FINANCE ACQUISITION                    JUDICIAL NOTICE
   CORP. II, RAO MULPURI, VIDUL PRAKASH,
 8 HOWARD W. LUTNICK, PAUL PION, ALICE
   CHAN, ANSHU JAIN, ROBERT J.
 9 HOCHBERG, CHARLOTTE S. BLECHMAN,
   CF FINANCE HOLDINGS II, LLC, CANTOR
10 FITZGERALD & CO., CANTOR FITZGERALD,
   L.P., AND CF GROUP MANAGEMENT, INC.,
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12                             Defendants.
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14          Lead Plaintiff Stadium Capital LLC (“Lead Plaintiff”) moves the Court for leave Pursuant
15 to Local Rule 7-11 to file a request for judicial notice. Upon reviewing the briefing, the Court

16 GRANTS Plaintiff’s motion.

17          Lead Plaintiff shall file the request for judicial notice attached to its administrative motion
18 as a separate docket entry on or before ______________.

19          IT IS SO ORDERED
20

21 Dated: _____________

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23                                                                 ___________________________
24                                                                 BETH LABSON FREEMAN
                                                                   United States District Judge
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                                             -4-                    Case No. 5:21-cv-06374-BLF
      STIPULATION AND [PROPOSED] ORDER GRANTING LEAD PLAINTIFF’S MOTION FOR LEAVE TO FILE
                                  REQUEST FOR JUDICIAL NOTICE
